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PPG\Shapes-Arch Holdings\motion to compel administrative expense



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Attorneys for PPG Industries, Inc.
___________________________________
In re:                              : UNITED STATES BANKRUPTCY COURT
SHAPES/ARCH HOLDINGS, LLC,          : DISTRICT OF NEW JERSEY
et al.,                             : Chapter 11 Case Nos. 08-14631 through
                      Debtors       :   08-14635 (GMB) (jointly administered)
                                    : Hearing Date: June 9, 2008, 10:00 A.M.
___________________________________ : Oral Argument Requested if Opposed

                        CERTIFICATION OF SERVICE OF MOTION
               TO COMPEL PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS
               PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) AND 503(b)(9),
                      FILED ON BEHALF OF PPG INDUSTRIES, INC.

             John J. Winter, Esquire, hereby certifies as follows:

        1.      I am a member of the law firm of The Chartwell Law Offices, LLP, located at
2621 Van Buren Avenue, Norristown, PA 19403.
.
        2.      On the 10th day of May, 2008, I caused to be delivered to the Clerk of the United
States Bankruptcy Court for the District of New Jersey, Camden Vicinage, by Electronic Case
Filing, true and correct copies of the following documents for filing:

               (a)    Notice of Motion to Compel Payment of Administrative Expense Claims
Pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and 503(b)(9);

               (b)    Application to Compel Payment of Administrative Expense Claims
Pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and 503(b)(9);

              (c)    Certification of Kevin B. Stiffler in Support of Motion to Compel Payment
of Administrative Expense Claims Pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and
503(b)(9):

               (d)   Proposed Form of Order Granting Motion to Compel Payment of
Administrative Expense Claims Pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and
503(b)(9); and
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             (e)    Certification of Service of Motion to Compel Payment of Administrative
Expense Claims Pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and 503(b)(9).

        3.      On the 10th day of May, 2008, due to their having been filed with the Court by
Electronic Case Filing, the foregoing documents also became available for viewing and
downloading, and were therefore served upon all e-filers that have entered their appearances in
these cases, including without limitation, the following parties:

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                             Office of the United States Trustee
                              One Newark Center, Suite 2100
                                     Newark, N J 07102


                                           THE CHARTWELL LAW OFFICES, LLP
Dated: May 10, 2008
                                           By: /s/ John J. Winter
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